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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                MV Realty of Nevada, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  815 Broken Sound Parkway
                                  Suite 140
                                  Boca Raton, FL 33487
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Palm Beach                                                    Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    MV Realty of Nevada, LLC                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




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Debtor    MV Realty of Nevada, LLC                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See attached Exhibit 1                                       Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                                                                           5001-10,000                                50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion


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Debtor   MV Realty of Nevada, LLC                                                    Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Debtor    MV Realty of Nevada, LLC                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 21, 2023
                                                  MM / DD / YYYY


                             X /s/ Antony Mitchell                                                        Antony Mitchell
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X /s/ Michael D. Seese                                                        Date September 21, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael D. Seese
                                 Printed name

                                 Seese, P.A.
                                 Firm name

                                 101 N.E. 3rd Avenue
                                 Suite 1500
                                 Fort Lauderdale, FL 33301
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     954-745-5897                  Email address      mseese@seeselaw.com

                                 997323 FL
                                 Bar number and State




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                                     EXHIBIT “1”
                                Affiliated Debtor Filings




      Affiliated Debtor              FEIN          Case Number           Date Filed

MV Realty, PBC LLC (Florida)       XX-XXXXXXX         Pending        September 21, 2023

  MV Realty Holdings, LLC          XX-XXXXXXX         Pending        September 21, 2023

   MV Receivables II, LLC          XX-XXXXXXX         Pending        September 21, 2023

  MV Receivables III, LLC          XX-XXXXXXX         Pending        September 21, 2023

 MV Realty of Alabama, LLC         XX-XXXXXXX         Pending        September 21, 2023

 MV Realty of Arizona, LLC         XX-XXXXXXX         Pending        September 21, 2023

  MV Realty of California, a       XX-XXXXXXX         Pending        September 21, 2023
      California corp.

 MV Realty of Colorado, LLC        XX-XXXXXXX         Pending        September 21, 2023

MV Realty of Connecticut, LLC      XX-XXXXXXX         Pending        September 21, 2023

    MV Realty PBC, LLC             XX-XXXXXXX         Pending        September 21, 2023
        (Georgia)

  MV Realty of Idaho, LLC          XX-XXXXXXX         Pending        September 21, 2023

  MV Realty of Illinois, LLC       XX-XXXXXXX         Pending        September 21, 2023

  MV Realty of Indiana, LLC        XX-XXXXXXX         Pending        September 21, 2023

  MV Realty of Kansas, LLC         XX-XXXXXXX         Pending        September 21, 2023

 MV Realty of Kentucky, LLC        XX-XXXXXXX         Pending        September 21, 2023

MV Realty of Louisiana, LLC        XX-XXXXXXX         Pending        September 21, 2023

 MV Realty of Maryland, LLC        XX-XXXXXXX         Pending        September 21, 2023
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   MV of Massachusetts, LLC        XX-XXXXXXX       Pending        September 21, 2023

  MV Realty of Michigan, LLC       XX-XXXXXXX       Pending        September 21, 2023

  MV Realty of Minnesota, LLC      XX-XXXXXXX       Pending        September 21, 2023

  MV Realty of Missouri, LLC       XX-XXXXXXX       Pending        September 21, 2023

   MV Realty of Nevada, LLC        XX-XXXXXXX       Pending        September 21, 2023

 MV Realty of New Jersey, LLC      XX-XXXXXXX       Pending        September 21, 2023

 MV Homes of New York, LLC         XX-XXXXXXX       Pending        September 21, 2023

MV Realty of North Carolina, LLC   XX-XXXXXXX       Pending        September 21, 2023

    MV Realty of Ohio, LLC         XX-XXXXXXX       Pending        September 21, 2023

 MV Realty of Oklahoma, LLC,       XX-XXXXXXX       Pending        September 21, 2023

   MV Realty of Oregon, LLC        XX-XXXXXXX       Pending        September 21, 2023

     MV Realty PBC, LLC            XX-XXXXXXX       Pending        September 21, 2023
       (Pennsylvania)

MV Realty of South Carolina, LLC   XX-XXXXXXX       Pending        September 21, 2023

  MV Realty of Tennessee, LLC      XX-XXXXXXX       Pending        September 21, 2023

    MV Realty of Texas, LLC        XX-XXXXXXX       Pending        September 21, 2023

    MV Realty of Utah, LLC         XX-XXXXXXX       Pending        September 21, 2023

   MV Realty of Virginia, LLC      XX-XXXXXXX       Pending        September 21, 2023

 MV Realty of Washington, LLC      XX-XXXXXXX       Pending        September 21, 2023

  MV Realty of Wisconsin, LLC      XX-XXXXXXX       Pending        September 21, 2023
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                          ACTION BY THE DIRECTORS OF
                           MV REALTY OF NEVADA, LLC
                     BY WRITTEN CONSENT IN LIEU OF MEETING

        THE UNDERSIGNED, being the members of the Board of Managers (the “Managers”)
of MV REALTY OF NEVADA, LLC, a Nevada limited liability company (the “Company”),
take the following actions and adopt the following resolutions:

        1)      RESOLVED: That, in the judgment of the Managers, it is desirable and in the
best interests of the Company, its creditors, and other interested parties, that the Company file a
voluntary petition for relief under Chapter 11 with the United States Bankruptcy Court (the
“Court”) for the Southern District of Florida (the “Bankruptcy Proceeding”); and it is further

         2)      RESOLVED: That, Antony Mitchell (“Responsible Party”), is hereby designated
as the Responsible Party to act on behalf of the Company, and shall be authorized to execute and
file all petitions, schedules, lists and other papers and to take any and all actions which he deems
necessary or proper in connection with the Bankruptcy Proceeding; and it is further

       3)      RESOLVED: That, the Company, subject to the authorization of the Court, is
authorized to employ the law firm of Seese, P.A. and Michael D. Seese, Esq. as its attorneys in
the Bankruptcy Proceeding under such terms and conditions as agreed to by the Responsible
Party and subject to approval of the Court; and it is further

       4)      RESOLVED: That, the Company, is authorized to retain any other professionals,
including, without limitation, financial advisors, and accountants (collectively, “Other
Professionals”), as may be necessary to represent or advise the Company in the Bankruptcy
Proceeding. The selection of Other Professionals shall be determined, and under such terms and
conditions as agreed to, by the Responsible Party and subject to approval of the Court.




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Effective this _____ day of September 2023.


                                                  Antony Mitchell, Director


                                                  David Manchester, Director


                                                  Amanda Zachman, Director




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                          ACTION BY THE DIRECTORS OF
                              MV REALTY PBC, LLC
                     BY WRITTEN CONSENT IN LIEU OF MEETING

       THE UNDERSIGNED, being the members of the Board of Directors (the “Directors”)
of MV REALTY PBC, LLC, a Florida limited liability company (the “Company”), take the
following actions and adopt the following resolutions:

        1)      RESOLVED: That, in the judgment of the Directors, it is desirable and in the
best interests of the Company, its creditors, and other interested parties, that the Company file a
voluntary petition for relief under Chapter 11 with the United States Bankruptcy Court (the
“Court”) for the Southern District of Florida (the “Bankruptcy Proceeding”); and it is further

        2)     RESOLVED: That, Anthony Mitchell (“Responsible Party”), is hereby
designated as the Responsible Party to act on behalf of the Company, and shall be authorized to
execute and file all petitions, schedules, lists and other papers and to take any and all actions
which he deems necessary or proper in connection with the Bankruptcy Proceeding; and it is
further

       3)      RESOLVED: That, the Company, subject to the authorization of the Court, is
authorized to employ the law firm of Seese, P.A. and Michael D. Seese, Esq. as its attorneys in
the Bankruptcy Proceeding under such terms and conditions as agreed to by the Responsible
Party and subject to approval of the Court; and it is further

        4)     RESOLVED: That, the Company, subject to the authorization of the Court, is
authorized to retain any other professionals, including, without limitation, financial advisors, and
accountants (collectively, “Other Professionals”), as may be necessary to represent or advise the
Company in the Bankruptcy Proceeding. The selection of Other Professionals shall be
determined, and under such terms and conditions as agreed to, by the Responsible Party and
subject to approval of the Court; and it is further

       5)      RESOLVED: That, in the judgment of the Directors, it is desirable and in the
best interests of the Company’s subsidiaries listed on Schedule A hereto (collectively the
“Subsidiaries”), their creditors, and other interested parties, that the Subsidiaries also file
voluntary petitions for relief under Chapter 11 with the Court and, therefore, the Company
consents to such filings by the Subsidiaries in accordance with the Subsidiaries’ governing
documents.




                                                 1
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Effective this _____ day of September 2023.


                                                  Antony Mitchell, Director


                                                  David Manchester, Director


                                                  Amanda Zachman, Director




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                                             Schedule A

MV Receivables I, LLC
MV Receivables II, LLC
MV Receivables III, LLC
MV Realty PBC, LLC (Pennsylvania)
MV Realty of South Carolina, LLC
MV Realty of North Carolina, LLC
MV of Massachusetts, LLC
MV Realty of Illinois, LLC
MV Realty of Arizona, LLC
MV Realty of Connecticut, LLC
MV Realty of Georgia, LLC
MV Realty of New Jersey, LLC
MV Realty of Washington, LLC
MV Realty of Maryland, LLC
MV Realty of Virginia, LLC
MV Realty of Tennessee, LLC
MV Realty of Wisconsin, LLC
MV Realty of Nevada, LLC
MV Realty of Oregon, LLC
MV Realty of Utah, LLC
MV Realty of Minnesota, LLC
MV Realty of Indiana, LLC
MV Realty of Missouri, LLC
MV Homes of New York, LLC
MV Realty of Idaho, LLC
MV Realty of Alabama, LLC
MV Realty of Colorado, LLC
MV Realty of Oklahoma, LLC
MV Realty of Louisiana, LLC
MV Realty of Kansas, LLC
MV Realty of Kentucky, LLC
MV Realty of California, a California corporation
MV Realty of Texas, LLC
MV Realty of Ohio, LLC




                                                    3
